Case 1:18-cv-00936-TSE-JFA Document 8 Filed 08/10/18 Page 1 of 2 PageID# 36




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA

                                         Alexandria Division
 Delbeit Terrill, et al                        )
                                                )
         Plaintiffs,                            )
                                                )
         V.                                    )               Case No. 1:18-cv-00936 - TSE/JFA
                                               )
 John Doe,era/                                 )
                                                )
         Defendants.                            )

                                          ORDER


         This matter is before the Court on Plaintiffs Motion to Publish Notice of Action pursuant

 to 15 U.S.C. § 1125(d)(2)(A)(ii)(ll)(bb) and for leave to serve notice of this matter on the domain

 name SNN.COM by email and publication; and after considering the arguments of counsel as

 presented in the memorandum to this Court, it is hereby

         ORDERED that the Plaintiffs Motion is GRANTED; and it is further

         ORDERED that a copy ofthis Order be published in The Washington Times once within

 14 days after entry of this Order; and it is further

         ORDERED that the Defendant Domain Name is hereby advised:

         A.      the Plaintiff has filed a Complaint charging the Defendant Domain Name,

                 SNN.COM with violation of the Anticybersquating Consumer Protection Act of

                 1999 (the " Act)and violation of the Computer Fraud and Abuse Act. A copy of

                 the Complaint may be obtained from the Plaintiffs attorney, Jonathan Westreich,

                 Esq., 604 Cameron Street, Alexandria, Virginia 22314, 703-299-9050.
Case 1:18-cv-00936-TSE-JFA Document 8 Filed 08/10/18 Page 2 of 2 PageID# 37
